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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


Ypsilanti Township Citizens for
Responsible Government,

       Plaintiff,
                                              Civil Case No. 22-10614
v.

Jocelyn Benson, in her official               Sean F. Cox
capacity as Secretary of State of             United States District Court Judge
Michigan, et al.,

      Defendants.
______________________________/

                                  ORDER
                DENYING MOTION TO DISMISS WITHOUT PREJUDICE

       On March 22, 2022, Plaintiff Ypsilanti Township Citizens for Responsible Government

(“Plaintiff”) filed this lawsuit against Defendants Jocelyn Benson, in her official capacity as

Secretary of State of Michigan, the Charter Township of Ypsilanti (“the Township”), and

Heather Jarrell Roe, in her official capacity as Ypsilanti Township Clerk (“Roe”), based upon

federal-question jurisdiction.

       On April 11, 2022, the Township and Roe filed a Motion to Dismiss (ECF No. 18) that

seeks dismissal of the sole count raised in Plaintiff’s March 22, 2022 Complaint.

       After that motion was filed, however, on April 18, 2022, Plaintiff filed an A First

Amended Complaint (ECF No. 20) that adds a new count – “Count III – Defendant Roe And

Defendant Township Violated Plaintiff’s Substantive Due Process Right To Political Speech

And Ballot Access.”


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       The reply brief filed by the Township and Roe improperly raises a new challenge not

raised in their original motion – a challenge to Plaintiff’s Substantive Due Process count.

       Accordingly, the Court DENIES WITHOUT PREJUDICE the Motion to Dismiss filed by

the Township and Roe, who may re-file a new motion that addresses both counts.

       IT IS SO ORDERED.

                                             s/Sean F. Cox
                                             Sean F. Cox
                                             United States District Judge

Dated: May 31, 2022




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